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                                                                                       U.S. DISTRICT COURT
                                                                                           N.D. OF ALABAMA


                    UNITED STATES DISTRICT COURT
               FOR THE NORTHERN DISTRICT OF ALABAMA
                       NORTHEASTERN DIVISION


    JOHNATHAN RODRIGUEZ,                      }
                                              }
         Plaintiff                            }
                                              }
    v.                                        }   Case No. 5:16-cv-01067-MHH
                                              }
    GENERAL INFORMATION                       }
    SERVICES,                                 }
                                              }
         Defendant.                           }


                     MEMORANDUM OPINION AND ORDER

         Plaintiff Johnathan Rodriguez brings this action under the Fair Credit

Reporting Act or FCRA. Mr. Rodriguez contends that General Information Services

inaccurately reported criminal history on a background report, causing him to lose a

job opportunity and suffer severe emotional distress. (Doc. 1, pp. 1, 3-4).1 Pursuant

to Rule 56 of the Federal Rules of Civil Procedure, GIS has asked the Court to enter

judgment in the company’s favor on Mr. Rodriguez’s FCRA claims. (Doc. 52). For

the reasons set forth below, the Court denies GIS’s motion for summary judgment.




1
 The defendant was involved in a corporate conversion in January of 2017 and now is known as
General Information Solutions, LLC. (Doc. 52, p. 1, n. 1).
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I.    STANDARD OF REVIEW

      “The court shall grant summary judgment if the movant shows that there is no

genuine dispute as to any material fact and the movant is entitled to judgment as a

matter of law.” FED. R. CIV. P. 56(a). To demonstrate that there is a genuine dispute

as to a material fact that precludes summary judgment, a party opposing a motion

for summary judgment must cite “to particular parts of materials in the record,

including depositions, documents, electronically stored information, affidavits or

declarations, stipulations (including those made for purposes of the motion only),

admissions, interrogatory answers, or other materials.” FED. R. CIV. P. 56(c)(1)(A).

In evaluating a motion for summary judgment motion, a district court must view the

evidence in the record in the light most favorable to the non-moving party and draw

reasonable inferences from the evidence in the non-movant’s favor. Asalde v. First

Class Parking Sys. LLC, 898 F.3d 1136, 1138 (11th Cir. 2018). “The court need

consider only the cited materials, but it may consider other materials in the record.”

FED. R. CIV. P. 56(c)(3).

       “A litigant’s self-serving statements based on personal knowledge or

observation can defeat summary judgment.” United States v. Stein, 881 F.3d 853,

857 (11th Cir. 2018); see Feliciano v. City of Miami Beach, 707 F.3d 1244, 1253

(11th Cir. 2013) (“To be sure, Feliciano’s sworn statements are self-serving, but that

alone does not permit us to disregard them at the summary judgment stage.”). A


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district court may not make credibility determinations; that is the work of jurors.

Feliciano, 707 F.3d at 1252 (citing Anderson v. Liberty Lobby, Inc., 477 U.S. 242,

255 (1986)). But conclusory statements in a declaration cannot by themselves create

a genuine issue of material fact. See Stein, 881 F.3d at 857 (citing Lujan v. Nat’l

Wildlife Fed’n, 497 U.S. 871, 888 (1990)).

      Applying these standards, in this opinion, the Court presents the summary

judgment evidence in the light most favorable to Mr. Rodriguez.

II.   FACTUAL BACKGROUND

      Defendant GIS is a consumer reporting agency. GIS provides credit and

background reports to companies to help companies evaluate job applicants. Over

a period of three years, GIS prepared three background reports on Mr. Rodriguez: a

June 2013 report for Kroger; a March 2016 report for Dollar General; and a May

2016 report for Kroger. (See Doc. 47-13, pp. 2–9 (June 2013 report); Doc. 47-16,

pp. 2–6 (March 2016 report); Doc. 52-2, pp. 22–27 (May 2016 report)). In July of

2016, GIS reinvestigated the May 2016 report. (Doc. 47-17, pp. 9–14). The May

2016 report and July 2016 reinvestigation form the basis of Mr. Rodriguez’s FCRA

claim against GIS. (Doc. 47, pp. 8-9). To provide background and context, the

Court first describes the June 2013 report and the March 2016 report.




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        A. GIS 2013 report for Kroger

        In June of 2013, Mr. Rodriguez applied for a position as a dairy clerk with a

Kroger grocery store in Huntsville, Alabama. (Doc. 52-5, p. 3, tp. 23). At Kroger’s

request, GIS prepared a background report on Mr. Rodriguez. (Doc. 52-5, pp. 33-

41). The report indicates that Mr. Rodriguez has an extensive criminal history that

includes multiple felony convictions in New Jersey for drug offenses. (Doc. 52-5,

pp. 35-40). That information is false; Mr. Rodriguez has not been charged with or

convicted of a crime. (Doc. 47-3, p. 2, ¶¶ 7–8; Doc. 47-4, p. 2).

        The report states that Mr. Rodriguez was “not clear for hire.” (Doc. 52-5, p.

33). Kroger did not hire Mr. Rodriguez. (Doc. 52-5, p. 10, tp. 59). Mr. Rodriguez

received a copy of the background report in the mail in 2013. (Doc. 52-5, p. 10, tp.

60).2 He testified that he was not sure what to do about the incorrect report. (Doc.

52-5, p. 11, tp. 65). He stated: “I had no way to even know how to start getting this

cleared up.” (Doc. 52-5, p. 12, tp. 69).

        Based on the 2013 report, Mr. Rodriguez suspected that he might be the victim

of identity theft. (Doc. 52-5, p. 12, tp. 66). He conducted research online and


2
  Because Mr. Rodriguez discovered the false information in the 2013 report shortly after GIS
prepared the report, FCRA’s two-year statute of limitations bars Mr. Rodriguez from pursuing a
claim related to the 2013 report in his 2016 lawsuit. See 15 U.S.C. § 1681p (“An action to enforce
any liability created under this subchapter may be brought in any appropriate United States district
court, without regard to the amount in controversy, or in any other court of competent jurisdiction,
not later than the earlier of – (1) 2 years after the date of discovery by the plaintiff of the violation
that is the basis for such liability; or (2) 5 years after the date on which the violation that is the
basis for such liability occurs.”).
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discovered that he could contact the Federal Trade Commission and file a police

report. (Doc. 52-5, p. 12, tp. 66). In August of 2013, Mr. Rodriguez filed a police

report in Madison County, Alabama. (Doc. 52-5, p. 16, tpp. 82-83; Doc. 52-6, pp.

2-6). Mr. Rodriguez did not contact GIS in 2013 to dispute the background report.

He testified that he did not know that he could dispute it. (Doc. 52-5, pp. 18-19, tp.

93-94).

      B. Mr. Rodriguez contacts GIS in March 2016

      In March of 2016, Mr. Rodriguez called GIS to request a copy of his

background report.        GIS’s internal call logs describe Mr. Rodriguez’s

communications as a “dispute.” (See Doc. 47-15, p. 2). GIS’s records contain the

following entries:

      3/16/2016      Received dispute from applicant on 03/16/2016.

      3/21/2016      Received dispute from applicant; Unsure as to nature of
                     dispute.

      3/21/2016      Sent email for contact information.

      3/22/2016      Awaiting contact information for the applicant.

      3/23/2016      Awaiting contact information for the applicant.

      3/24/2016      Awaiting contact information for the applicant.

      3/28/2016      Re-sent e-mail for update on contact information.

      3/28/2016      After several attempts this case is being closed due to no
                     contact information available for applicant.


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(Doc. 47-15, p. 2).

       Another call log indicates that Mr. Rodriguez contacted GIS again by

telephone on April 5, 2016 to request a copy of his background report. (Doc. 52-5,

p. 34). The notes for this call indicate that Mr. Rodriguez provided updated contact

information to GIS and that GIS mailed Mr. Rodriguez a copy of his background

report. (Doc. 52-5, p. 34). Mr. Rodriguez received a copy of his report by mail a

few days later. (Doc. 52-5, p. 26, tp. 131). Mr. Rodriguez did not contact GIS to

dispute the criminal history information in the report. (Doc. 52-5, p. 26, tp. 132;

Doc. 47-2, p. 17, tp. 153). Mr. Rodriguez testified, “No, I did not [dispute the

report]. . . . I figured there was really nothing I could do . . . . [My attorneys] had

already been helping me.” (Doc. 52-5, p. 26, tp. 132).3

       C. Dollar General Application and March 2016 GIS Report

       Toward the end of March of 2016, Mr. Rodriguez applied for a job at a Dollar

General store in Huntsville, Alabama. (Doc. 52-5, p. 19, tpp. 94-95). GIS conducted

a background search for Dollar General in connection with Mr. Rodriguez’s

application. GIS’s Vice President of Compliance, Jamie Floyd Pelchat, testified that

when GIS created the 2016 report for Dollar General, GIS used identifiers, including


3
 GIS contends that Mr. Rodriguez contacted the company in March and April of 2016 to request
a copy of his 2013 report, not to dispute the contents of the report. (See Doc. 52, p. 16). In his
brief in opposition to GIS’s summary judgment motion, Mr. Rodriguez characterizes his
communications with GIS as a dispute based on GIS’s internal notes labeling it as such. (Doc. 47,
p. 13) (“GIS’s own internal records indicate that Mr. Rodriguez disputed the 2013 Kroger report
on March 16, 2016.”). The distinction is irrelevant for purposes of this opinion.
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first and last name and date of birth, identical to the information that GIS used to

search for criminal background data concerning Mr. Rodriguez for the 2013 report

for Kroger. (Doc. 47-5, pp. 10–11, tp. 36–38).

       GIS completed the Dollar General report on March 28, 2016. (Doc. 47-16, p.

2). The report contains no criminal history and reflects a grade of “Pass.” (Doc. 47-

16, pp. 2–6). Dollar General hired Mr. Rodriguez. (Doc. 52-5, p. 19, tp. 95). Mr.

Rodriguez worked for Dollar General for approximately one week. (Doc. 52-5, p.

19, tp. 95). He left over a disagreement with management about his duties in the

store. (Doc. 52-5, p. 19, tpp. 95–96).

       D. GIS’s May 2016 report for Kroger

       On     May      11,    2016,     Mr.     Rodriguez       applied     for   a    job    with

Kroger. (Doc. 52-5, p. 27, tp. 137; Doc. 52-10, p. 2, ¶ 4). Kroger offered Mr.

Rodriguez a job in the meat and seafood department, contingent on Mr. Rodriguez

passing a drug test and a background check. (Doc. 52-5, pp. 27–28, tpp. 137, 138;

Doc. 52-10, pp. 2–3, ¶ 4). Mr. Rodriguez testified that his wife worked at Kroger.

Because he did not have a driver’s license, he wanted to work at the store so that he

could ride to work with his wife. (Doc. 52-5, p. 12, tp. 68).4


4
   Mr. Rodriguez does not have a driver’s license because the Alabama Department of Motor
Vehicles suspended his license for driving under the influence. (Doc. 52-5, pp. 6–7, tpp. 45–48).
The driving under the influence charge actually belongs to someone else named Rodriguez. Mr.
Rodriguez’s identity struggles date back to his teens. Mr. Rodriguez testified that he applied for a
driver’s permit at the age of 15, but the state of Alabama Department of Motor Vehicles refused
to grant him a permit because his record contained a suspended license for driving under the
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       GIS performed a background check on Mr. Rodriguez in connection with his

application to Kroger. (Doc. 52-12, pp. 11–16). On May 19, 2016, GIS reported to

Kroger that Mr. Rodriguez has multiple felony convictions for drug offenses,

including the felony convictions that appear in GIS’s 2013 background report for

Mr. Rodriguez, and pending charges for first degree murder, aggravated assault, and

weapons possession. (Doc. 52-12, pp. 11–16). That criminal history actually

belongs to an individual named Jonathan Rodriguez who was charged with crimes

in New Jersey. That individual spells his first name “Jonathan.” Mr. Rodriguez

testified that he spells his first name “Johnathan.” (Doc. 52-5, p. 27, tp. 135; Doc.

47-3, p. 2, ¶ 3). GIS contends that Mr. Rodriguez has used an alias or accepted an

alternate spelling of his first name. (Doc. 52, p. 9; Doc. 52-5, p. 22, tp. 113). GIS

points to Mr. Rodriguez’s Alabama non-driver identification card which contains

the name “Jonathan Rodriguez.” (Doc. 52-7). GIS also notes that the police report

that Mr. Rodriguez filed in 2013 contains the name “Jonathan Rodriguez.” (Doc. 52-

6, p. 2).

       In matching the criminal history of New Jersey’s Jonathan Rodriguez to

Alabama’s Johnathan Rodriguez, GIS used two search identifiers: name and date of



influence. (Doc. 52-5, pp. 6–7, tpp. 45–48). The offense belonged to an individual from New
Jersey named Jonathan Rodriguez who shares Mr. Rodriguez’s date of birth. Mr. Rodriguez
testified that his mother made numerous unsuccessful attempts to resolve the issue, but “finally,
my mother just said, I guess you’re not getting your permit.” (Doc. 52-5, p. 8, tp. 50).

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birth. (Doc. 52-12, pp. 13-15) (see line entry beginning with “Public Case #” and

ending with “Identifiers”) (emphasis in report). GIS indicated in the May 2016

report that it searched records in New Jersey for information concerning “Johnathan

Rodriguez.” (Doc. 52-12, p. 12) (see “JURISDICTION SEARCHED” and “NAME

SEARCHED” at the bottom of the page). The reported criminal history information,

according to the report itself, concerns “Jonathan Rodriguez.” (Doc. 52-12, pp. 13-

15) (see entry under “Name on Record”) (emphasis in report). The report contains

a space for “Additional Information” next to each listed criminal offense. The

“Additional Information” provided states: “PLEASE NOTE THE SPELLING OF

FIRST NAME.” (Doc. 52-12, pp. 13–16). Although the GIS report contained Mr.

Rodriguez’s social security number, Ms. Pelchat stated that GIS was not able to

confirm whether Mr. Rodriguez’s social security number matched the criminal

records from New Jersey because “the [offender’s] Social Security number was not

returned or provided on the court record.” (Doc. 47-5, p. 16, tp. 83).5

       On May 16, 2016, Sandra White, a Kroger employee, graded Mr. Rodriguez

as “ineligible for hire” based on the results of the background check. (Doc. 52-12,

p. 3, ¶ 6).



5
 Yet, in July 2016, someone from GIS contacted the New Jersey Department of Corrections and
determined that Mr. Rodriguez’s social security number does not match the social security number
of the individual whose charged crimes GIS attributed to Mr. Rodriguez. (Doc. 47-5, p. 16, tpp.
83-84; Doc. 47-11, p. 2).

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       From May 17 to May 19, 2016, Mr. Rodriguez attended new hire orientation

at Kroger. (Doc. 52-5, p. 28, tpp. 140–41; Doc. 36-9, ¶ 6). Mr. Rodriguez stated

that he was given a schedule “[a]nd when the schedule ended, [he] didn’t know what

else to do, so [he] waited for a call.” (Doc. 55, p. 1, tp. 142). Eventually, Ms. Lockett

called Mr. Rodriguez to report to work, but he could not report because he had to

pick up his son from school. (Doc. 52-5, p. 29, tp. 148; Doc. 55, p. 1, tp. 143).

According to Mr. Rodriguez, Ms. Lockett called him the following day to inform

him that his employment was terminated. (Doc. 52-5, p. 29, tp. 148).6 Concerning

his employment with Kroger and his termination, Mr. Rodriguez testified:

       A:     … I was given a week’s worth of schedule. . . . And I worked
              almost a whole week . . . . But only, you know, three or four
              hours. Because we only had one car. I had to leave to go pick
              my son up. So I couldn’t work the whole full shifts. But I
              worked a week’s worth. And no one told me, hey, come back
              tomorrow at nine and finish what you need to finish. There was
              no one there to tell me what to do. So I just – I’d go home and
              I’d just wait for a call.

       Q:     And then your testimony was that you did get a call from Crystal
              Lockett, correct?

       A:     Yes, I did.

              ...

       Q:     In May 2016?


6
 Ms. Lockett testified that she called Mr. Rodriguez “on or around May 24, 2016” and not on May
21, 2016, as Mr. Rodriguez recalls. (Doc. 36-9, p. 3, ¶ 7).

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                ...

      A:        I told her I couldn’t be in just then when she told me to come in;
                that I had to pick my son up from school. We had only one car.
                So I can’t do two things at once. She told me that she would call
                me back to let me know what to do next. I never heard back from
                her again that day. The next day she called me back. [She said,]
                “Hi, this is Crystal Lockett. We’re going to go ahead and
                exercise our legal right to let you go since you’re still in your
                probationary period.”

      Q:        Okay. And – and what did you say in response to that?

      A:        “Is there something that I did wrong?” She said, “No. We just
                don’t require your services.”

      Q:        And that was it?

      A:        And that was it.

(Doc. 52-5, p. 29, tpp. 146–49) (internal quotations added).

      Ms. Lockett testified that when she terminated Mr. Rodriguez, she was not

aware of the results of Mr. Rodriguez’s background report. (Doc. 52-10, pp. 3-4, ¶¶

9, 10). On May 24, 2016, Ms. Lockett completed separation paperwork which

identified the reason for Mr. Rodriguez’s termination as: “Failure to return to work

to complete proper computer based new hire training.” (Doc. 52-10, p. 3, ¶ 8; Doc.

52-10, p. 6).

      Mr. Rodriguez’s wife, Kristy Rodriguez, disputes Ms. Lockett’s version of

the events leading to her husband’s termination. Mrs. Rodriguez testified:

      Q:        All right. And then paragraph 6 [of Crystal Lockett’s sworn
                statement], this talks about the orientation that you just told us
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            about. [Referring to the separation paperwork completed by Ms.
            Lockett which states]: “On May 17th through 19th, 2016, Mr.
            Rodriguez never returned to complete the remainder of his
            orientation.” Is that consistent with your recollection of the
            facts?

      A:    That is a false statement.

      Q:    Both sentences, one sentence, either sentence? What’s false?

      A:    That he never returned to complete his orientation. He returned
            every day but kept getting turned away.

      Q:    Okay.

      A:    He kept returning, and they kept denying him to be there.

      Q:    So you are saying Ms. Lockett is lying here?

      A:    For that, yes. She was going to call him and say, “Okay, come
            back [at] this time and finish your last two training videos and
            we’ll put you on the sales floor.”

(Doc. 47-6, pp. 11–12, tpp. 229–30) (internal quotations added).

      On May 23, 2016, GIS mailed Mr. Rodriguez a Pre-Adverse Employment

Notice with the background report attached. (Doc. 52-5, p. 3, ¶ 6; Doc. 52-12, pp.

5-16). The letter notified Mr. Rodriguez that he had five days to dispute the

information in the GIS report. (Doc. 52-12, p. 5). GIS enclosed a form with the

letter entitled “Disclosure / Dispute Process Request Form.” (Doc. 52-12, p. 10).

The letter also stated: “Kroger has or will be completing their review of your

application within the next few days, and may take action based on the enclosed

report.” (Doc. 52-12, p. 5). Mr. Rodriguez did not dispute the report within five
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days. (Doc. 52-5, p. 30, tp. 153). As of May 24, 2016, Mr. Rodriguez was

terminated from Kroger. (Doc. 52-10, p. 3, ¶ 8; Doc. 52-10, p. 6). By separate letter

dated May 31, 2016, GIS notified Mr. Rodriguez that: “[b]ased on information

contained in a recently obtained consumer report on you, Kroger has elected not to

extend you an offer of employment or continue your employment.” (Doc. 52-5, p.

43; Doc. 52-11, p. 19).

       On June 1, 2016, Ms. White emailed a “Hold Report” to the Kroger store in

Huntsville. The report notified Kroger that Mr. Rodriguez was not eligible for hire.

(Doc. 52-11, pp. 22–23; Doc. 52-12, p. 3, ¶ 11). Ms. White asserts that with the

exception of the email she sent to the store on June 1, 2016, she did not communicate

with the store or speak to Crystal Lockett. (Doc. 52-12, p. 4, ¶ 12).

       Mr. Rodriguez filed his complaint in this action on June 30, 2016. (Doc. 1).7

       E. GIS investigates Mr. Rodriguez’s background report

       On July 15, 2016, GIS received a dispute from Mr. Rodriguez. Mr. Rodriguez

reported that the criminal charges from New Jersey “[did] not belong to him.” (Doc.

47-11, p. 2). GIS initiated a “reinvestigation.” (Doc. 47-11, p. 2). A representative



7
  In October or November of 2015, Mr. Rodriguez saw an ad on television for the law firm of
Francis and Mailman. (Doc. 52-5, p. 15, tp. 81). In the early part of 2016, Mr. Rodriguez retained
Francis and Mailman to represent him in this case. In addition to the present action, Mr. Rodriguez
filed suit in the Eastern District of Pennsylvania against numerous credit reporting agencies. See
Rodriguez v. Trans Union, LLC, et al, No. 5:16-cv-1891-BMS (E.D. Pa. filed April 21, 2016). Mr.
Rodriguez also filed a class action suit in this Court against Kroger. See Rodriguez v. The Kroger
Company, No. 5:16-cv-2045-AKK (N.D. Ala. filed Dec. 20, 2016).
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of GIS contacted the New Jersey Department of Corrections and “verified” that Mr.

Rodriguez’s social security number “does not match” the social security number of

the individual with the New Jersey criminal charges. (Doc. 47-11, p. 2).

      By letter dated July 19, 2016, GIS notified Mr. Rodriguez that it had

completed its reinvestigation concerning criminal records contained in his

background report. (Doc. 47-17). The letter states in relevant part:

      General Information Services (GIS) has completed its reinvestigation
      of your dispute. We have enclosed a copy of your consumer report that
      reflects any changes we may have made to your consumer file as a
      result of our reinvestigation for your review.

      We have also notified Kroger that your dispute is now complete.
      Additionally, if our reinvestigation resulted in any changes to your file,
      we have provided an updated copy of your report to Kroger.

      Please see below for the results of the reinvestigation performed to
      address your claim(s).

      To investigate your dispute concerning Case # 14000506, # 10002991,
      and #10000120 reported out of Middlesex County, NJ, we contacted
      the Department of Correction at 732-297-3636. The Clerk confirmed
      that the information in our initial report requires an update. Therefore,
      we have made a change to your file.

      If GIS’s reinvestigation has not resolved your request to your
      satisfaction, you may add a statement to your report disputing the
      accuracy or completeness of the information.

(Doc. 47-17, p. 2).

      Although the letter indicates that GIS updated Mr. Rodriguez’s report, the

report attached to the letter dated July 19, 2016 still contains all of the criminal


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charges and convictions listed in the May 2016 report. Under the heading for

criminal history, the July 2016 report lists Case # 14000506 (noting pending charges

for first degree murder, unlawful possession of a weapon, aggravated assault,

conspiracy, and hindering apprehension); Case # 10002991 (noting felony

conviction for manufacture and distribution of a controlled substance); and Case #

10000120 (noting felony conviction for distributing a controlled substance on or

near school property). (Doc. 47-17, pp. 10–13).

III.   DISCUSSION

       The Fair Credit Reporting Act provides that “consumer reporting agencies

may furnish consumer reports for limited purposes,” and those agencies “must

maintain reasonable procedures to ensure compliance with the Act . . . .” Levine v.

World Fin. Network Nat’l Bank, 554 F.3d 1314, 1317–18 (11th Cir. 2009) (internal

citations to statute omitted). Section 1681e(b) of the Act states that when a consumer

reporting agency prepares a consumer report, the agency must “follow reasonable

procedures to assure maximum possible accuracy of the information concerning the

individual about whom the report relates.” 15 U.S.C. § 1681e(b). FCRA “creates a

private right of action against consumer reporting agencies and furnishers of

information for negligent or willful violations of these duties imposed by this

legislation. See 15 U.S.C. §§ 1681n, o.” Ray v. Equifax Info. Servs., LLC, 327 Fed.




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Appx. 819, 826 (11th Cir. 2009); see also Levine, 554 F.3d at 1318 (reporting agency

may be civilly liable under FCRA for negligent or willful violations of the statute).

      To establish a violation of section 1681e(b) of the Act, Mr. Rodriguez must

“present evidence tending to show that a credit reporting agency prepared a report

containing ‘inaccurate’ information” and that he “was damaged as a result of the

allegedly inaccurate [] credit report.” Cahlin v. Gen. Motors Acceptance Corp., 936

F.2d 1151, 1156, 1160-61 (11th Cir. 1991); see also Ray, 327 Fed. Appx. at 826

(same); Jackson v. Equifax Info. Servs., LLC, 167 Fed. Appx. 144, 146 (11th Cir.

2006) (same). An agency will not be liable for an inaccurate report if the agency

establishes that the report “was generated by following reasonable procedures[.]”

Jackson, 167 Fed. Appx. at 146. Moreover, if a plaintiff does not “‘produce evidence

of damage resulting from a FCRA violation,’” then a defendant is entitled to

summary judgment on a FCRA claim. Ray, 327 Fed. Appx. at 826 (quoting Nagle

v. Experian Info. Sols., Inc., 297 F.3d 1305, 1307 (11th Cir. 2002)).

      It is undisputed that GIS’s May 2016 report concerning Mr. Rodriguez is

inaccurate. Therefore, the Court may enter judgment in favor of GIS on Mr.

Rodriguez’s FCRA claim if GIS can establish as a matter of law that it followed

reasonable procedures when it created the May 2016 report or if Mr. Rodriguez

cannot produce evidence that demonstrates that the inaccurate information in the

May 2016 injured him.


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      A. Reasonableness of GIS’s Procedures

      In the Eleventh Circuit Court of Appeals, the question of whether a consumer

reporting agency followed reasonable procedures “will be a jury question in the

overwhelming majority of cases.” Cahlin, 936 F.2d at 1156. This case is not an

exception to the general rule.

      Here, in the “Criminal Records” section of the May 2016 report, GIS indicated

that it searched a criminal records database for the name “Johnathan Rodriguez,”

(Doc. 52-12, p. 12) (bottom of the page) (emphasis added), but the report states that

the “Name on Record” for each criminal charge reported is “Jonathan Rodriguez.”

(Doc. 52-12, pp. 12-15) (emphasis in report). And the annotation for each criminal

charge states: “PLEASE NOTE THE SPELLING OF FIRST NAME.” (Doc. 52-

12, pp. 13–16). All of the charges either were prosecuted in or were pending in New

Jersey, but the May 2016 report reflects an Alabama address for Mr. Rodriguez.

(Compare Doc. 52-12, p. 11, and Doc. 52-12, p. 12 (JURISDICTION SEARCHED

– Middlesex County, NJ)). Jurors reasonably could conclude that the obvious

discrepancies in the May 2016 report should have prompted GIS to investigate

further before including the New Jersey criminal history in the report that GIS sent

to Kroger for Mr. Rodriguez.

      In evaluating the reasonableness of GIS’s procedures, jurors could consider

the fact that GIS did not include the New Jersey criminal history in a report regarding


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Mr. Rodriguez that GIS created in March 2016, only two months before GIS sent

Kroger the May 2016 report. And jurors could consider the fact that in July 2016,

GIS was able to detect the error in the May 2016 report with one phone call to the

New Jersey Department of Corrections.

      GIS argues that its reporting complies with industry standards which, in the

opinion of GIS’s expert, require consumer reporting agencies to use at least two

identifiers to consider criminal records a match. (Doc. 52-3, pp. 8-9). GIS also

argues plaintiff Johnathan Rodriguez has used the alias “Jonathan Rodriguez.” GIS

points to Mr. Rodriguez’s Alabama non-driver identification card and a 2013 police

report that Mr. Rodriguez filed. GIS’s expert testimony about general industry

practice at best creates a question of fact about whether it was reasonable for GIS to

use only two identifiers for the May 2016 report, and GIS did not rely on Mr.

Rodriguez’s Alabama non-driver identification card or his 2013 police report when

creating the May 2016 report, so that information sheds little light, if any, on the

reasonableness of GIS’s procedures.

      In this case, as in most cases in the Eleventh Circuit, a jury must determine

whether GIS followed reasonable procedures when it created the May 2016 report.

Cahlin, 936 F.2d at 1156; Williams v. First Advantage LNS Screening Sols., Inc.,

155 F. Supp. 3d 1233, 1252-53 (N.D. Fla. 2015) (“Williams has identified a number

of shortcomings in First Advantage’s procedures, including its use of only two


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identifiers (name and date of birth) to match records for consumers with common

names. First Advantage has provided evidence that its procedures are generally

acceptable in its industry and result in a relatively low number of errors. A jury must

weigh this information and decide whether First Advantage’s process represents that

of a reasonably prudent person under the circumstances.”) (internal citations and

quotations omitted).8

       B. FCRA Injury

       Mr. Rodriguez contends that as a result of GIS’s inaccurate background

report, Kroger terminated his employment, and he suffered extreme emotional

distress. There is disputed evidence concerning both categories of injury.

              1. Termination

       GIS maintains that the inaccurate information in the May 2016 report did not

cause Mr. Rodriguez to lose his job at Kroger. GIS asserts that Crystal Lockett, the

Kroger employee who made the decision to terminate Mr. Rodriguez’s employment,

was not aware of Mr. Rodriguez’s background report when she decided to terminate




8
 As a blanket defense, GIS argues that Mr. Rodriguez did not dispute the contents of his report.
As stated, to prove his FCRA claim, Mr. Rodriguez only must demonstrate that the May 2016 GIS
report was inaccurate and that he suffered damages because of the inaccurate report. Mr.
Rodriguez does not have to prove that he challenged the report. And the record shows that in July
2016, when GIS received a report that the information in the May 2016 report was incorrect, GIS
determined that the criminal background information in the report was false, but GIS did not
remove the information from the next report that it issued for Mr. Rodriguez.

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him. GIS argues that Kroger terminated Mr. Rodriguez’s employment because he

did not complete his new hire orientation.

      Mr. Rodriguez disputes Ms. Lockett’s version of the events leading to his

termination. He testified that when he received notice of his termination, he was

waiting for Ms. Lockett to tell him when he should return to the store to complete

his new hire orientation and computer training. Mr. Rodriguez’s wife, who works

at the Huntsville store with Ms. Lockett, testified that Ms. Lockett’s account of her

decision to terminate Mr. Rodriguez is not truthful. Ms. Rodriguez stated that Ms.

Lockett was supposed to tell Mr. Rodriguez when to report to the store to complete

his orientation. (Doc. 47-6, pp. 11–12, tpp. 229–30) (“She [Ms. Lockett] was going

to call him and say, ‘Okay, come back [at] this time and finish your last two training

videos and we’ll put you on the sales floor.’”).

      Reasonable jurors may conclude that when she notified Mr. Rodriguez that he

was terminated, Ms. Lockett was aware that there was a problem with Mr.

Rodriguez’s background report.        Jurors will have to untangle the evidence

concerning the timeline of Mr. Rodriguez’s termination. The May 2016 report

indicates that GIS completed the report on May 19, 2016. (Doc. 52-12, p. 11).

Sandra White, the Kroger employee who worked directly with GIS, asserts that as

of May 16, 2016, five days after GIS began its investigation on May 12, 2016, GIS

had placed Mr. Rodriguez on “hold” status, and she had determined that Mr.


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Rodriguez was ineligible for hire. (Doc. 52-12, pp. 2-3, ¶¶ 5-6). On May 24, 2016,

Mr. Rodriguez’s name appeared on Kroger’s electronic “Master Hold Sheet” at 4:03

a.m. (Doc. 52-12, p. 3, ¶ 8). Ms. Lockett stated that on May 24, 2016, she told Mr.

Rodriguez that he was terminated. (Doc. 36-9, p. 3, ¶ 7). On the same day, she

completed separation paperwork which identified the reason for Mr. Rodriguez’s

termination as: “Failure to return to work to complete proper computer based new

hire training.” (Doc. 52-10, p. 3, ¶ 8; Doc. 52-10, p. 6). Ms. White stated that

Kroger’s internal electronic system indicates that Mr. Rodriguez’s termination was

entered in the system on May 26, 2016 with an effective date of May 19, 2016. (Doc.

52-12, p. 3, ¶ 9). Kroger’s system indicates “Candidate Withdrew – Other.” (Doc.

52-12, p. 3, ¶ 9).

      Ms. White stated that she did not report the results of her investigation to the

Huntsville store until June 1, 2016. (Doc. 52-12, p. 3, ¶ 11). Ms. Lockett asserts

that she could not access the status of Mr. Rodriguez’s background report until

Kroger reported it to her, and she never received a copy of the report. (Doc. 52-10,

pp. 3-4, ¶ 9). But jurors could conclude that the delay in receiving a report indicated

to Ms. Lockett that there was a problem with the background report. The record

shows that in March 2016, GIS completed an accurate background report for Mr.

Rodriguez in five days. (Doc. 47-16, p. 2). That report contained a grade of “Pass”

and a green flag. (Doc. 47-16, p. 2). Jurors reasonably could conclude from this


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evidence that GIS can complete a favorable report in less than one week. Ms.

Lockett requested a background report for Mr. Rodriguez on May 11, 2016. (Doc.

52-12, p. 2, ¶ 4; Doc. 52-12, p. 11). Given her experience, Ms. Lockett could have

realized by May 24, 2016, nearly two weeks after she requested the background

report, that there was a problem with the report.

      At the summary judgment stage, the Court must view disputed facts in favor

of the non-moving party. Because a fact issue exists as to whether Kroger terminated

Mr. Rodriguez because of the background report or for a reason unrelated to the

report, GIS is not entitled to summary judgment on Mr. Rodriguez’s claim under

section 1681e(b).

             2. Emotional Distress

      FCRA plaintiffs may recover emotional distress damages. See Thomas v. Gulf

Coast Credit Servs., Inc., 214 F. Supp. 2d 1228, 1235 (M.D. Ala. 2002) (citing

Stevenson v. TRW, Inc., 987 F.2d 288, 296 (5th Cir. 1993)). GIS contends that Mr.

Rodriguez has not put forward sufficient evidence of emotional injuries that would

enable a reasonable jury to find in his favor on his FCRA negligence claim. The

Eleventh Circuit Court of Appeals has held that “the existence of compensable

emotional distress is relevant to the amount of damages a plaintiff will ultimately

recover” in an FCRA case. Levine, 437 F.3d at 1124; see also Collins v. Experian

Info. Sols., Inc., 775 F.3d 1330, 1336 (11th Cir. 2015) (remanding the district court’s


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summary judgment decision so the district court could analyze whether the

plaintiff’s evidence of emotional distress was sufficient to present a jury question on

actual damages). But district courts do not agree on whether a plaintiff must present

more than his own testimony as evidence of emotional distress. Compare Moore v.

Equifax Info. Servs. LLC, 333 F. Supp. 2d 1360, 1365 (N.D. Ga. 2004) (plaintiff’s

testimony that he suffered humiliation and embarrassment as a result of the alleged

FCRA violation was sufficient to create a triable jury question as to damages); and

Smith v. E-Backgroundchecks.com, Inc., 81 F. Supp. 3d 1342, 1347 (N.D. Ga. 2015)

(plaintiff’s testimony of emotional harm was sufficient to establish a jury question),

with Abdo v. Sallie Mae, Inc., No. 3:11-CV-111-J-32-JRK, 2014 WL 3053172, at *2

(M.D. Fla 2014); Rambarran v. Bank of Am., N.A., 609 F. Supp. 2d 1253, 1267 (S.D.

Fla. 2009).

      Mr. Rodriguez has presented sufficient evidence to create a question of

material fact as to whether his emotional distress constitutes actual damages. After

Kroger terminated Mr. Rodriguez, he received a copy of his background report in

the mail. (Doc. 59-4, p. 153). Mr. Rodriguez described feeling as though “there was

nothing I … could do. I thought I was just thrown into the river and left to fight, to

swim in the river current.” (Doc. 59-4, p. 154). In July 2016, Mr. Rodriguez

received an “updated” report. (Doc. 47-17, pp. 10–13). However, Mr. Rodriguez

explained: “[E]verything was still on my background…. The felonies were still


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there. And after seeing this, [I] went into a deeper state of depression, realizing that

no one could help me.” (Doc. 47-2, p. 20, tp. 164). When asked whether he was

happy, Mr. Rodriguez responded: “All of this still gets to me, and it makes me sad,

depressed and mad every day I wake up.” (Doc. 47-2, p. 22, tp. 194). When asked

what he wants to get out of his lawsuit, Mr. Rodriguez responded that he “want[s]

to know wherever [he goes he’ll] be safe” and that he no longer will have to “fear

stepping outside” because of the felonies on his background report. (Doc. 59-4, p.

214). This testimony is sufficient to support Mr. Rodriguez’s allegation that he has

suffered emotional harm due to GIS’s conduct. See Smith, 81 F. Supp. 3d at 1347

(holding that plaintiff’s testimony that he suffered emotional distress and loss of

sleep, weight loss, and anxiety was sufficient evidence of mental anguish damages).

      Moreover, Mr. Rodriguez’s testimony is corroborated by evidence

“‘reasonably and sufficiently explain[ing] circumstances[] surrounding [his]

emotional injuries.” Smith, 837 F.3d at 611. In Abdo v. Sallie Mae, Inc. the district

court considered plaintiff’s testimony that he suffered “continuing and multiple

years of injury to [his] reputation and shame, embarrassment, humiliation, emotional

distress, mental distress, mental anguish, and hurt feelings” because of inaccuracies

about student loans on his credit report. 2014 WL 3053172, at *2. The plaintiff’s

testimony was corroborated by his brother-in-law who listed examples of harm and

distress. 2014 WL 305172, at *2. This testimony satisfied the district court that an


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issue of material fact existed as to whether the plaintiff suffered damages as a result

of the alleged FCRA violation.

       Mr. Rodriguez’s wife testified: “[H]e’s gotten upset a few times that he can’t

support us like a man…. He apologizes to me and gets – he cries about that. He’s

like, ‘I’m sorry that you can’t have your white picket fence. I’m sorry that you can’t

stay home and take care of our son. I’m sorry that, you know, we can’t afford the

three children of our dreams.’”           (Doc. 47-6, p. 10, tp. 179).          This evidence

corroborates Mr. Rodriguez’s testimony about his mental anguish. Cf. Rambarran,

609 F. Supp. 2d at 1269 (plaintiff’s emotional damages claims did not survive

summary judgment because he failed to provide corroborating evidence).9

Consequently, there is a genuine issue of material fact as to whether Mr. Rodriguez

has suffered actual damages, and GIS is not entitled to summary judgment.




9
  GIS’s reliance on Nagle is misplaced. (Doc. 52, pp. 21-22). In Nagle the plaintiff’s FCRA claim
went to trial. 297 F.3d 1305, 1306 (11th Cir. 2002). The jury found that the credit reporting
agency was negligent but did not award actual or punitive damages. Nagle, 297 F.3d at 1306. The
district judge awarded $100,000.00 in attorneys’ fees. Nagle, 297 F.3d at 1306. The Eleventh
Circuit Court of Appeals reversed and explained that because the jury found that the plaintiff
produced no evidence of damages, the plaintiff was not “successful” and could not receive
attorneys’ fees. Nagle, 297 F.3d at 1307. Here, at the summary judgment stage, Mr. Rodriguez
has produced evidence of damages as a result of GIS’s alleged FCRA violation. If a jury finds in
favor of GIS at trial, then Mr. Rodriguez will not succeed on his FCRA claim, and he may not
receive attorneys’ fees. But his evidence is sufficient to survive GIS’s motion for summary
judgment.
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      C. Willfulness

      To prove that GIS willfully failed to comply with a requirement under the

FCRA, Mr. Rodriguez must produce evidence that GIS acted with knowing or

reckless disregard for its duties under the statute. Safeco Ins. Co. of Am. v. Burr,

551 U.S. 47, 57 (2007) (“[W]here willfulness is a statutory condition of civil

liability, it is generally taken to cover not only knowing violations of a standard, but

reckless ones as well.”). Mr. Rodriguez must show that GIS’s conduct was “not only

a violation under a reasonable reading of the statute’s terms, but . . . that the company

ran a risk of violating the law substantially greater than the risk associated with a

reading that was merely careless.” Safeco, 551 U.S. at 69. If GIS relied on an

objectively reasonable but incorrect construction of the statute, then GIS cannot be

said to have willfully violated the law. Safeco, 551 U.S. at 69. In determining

whether a particular construction of FCRA is objectively reasonable, a court must

consider the text of the statute and any “guidance from the courts of appeals or the

Federal Trade Commission that might have warned [a reporting agency] away from

the view it took.” Levine, 554 F.3d at 1318 (citing Safeco, 551 U.S. at 69–70).

      As previously discussed, GIS prepared several reports in 2016 pertaining to

Mr. Rodriguez. The report that GIS prepared for Dollar General in March of 2016

was accurate. The report that GIS created two months later for Kroger included false

information concerning pending criminal charges and criminal convictions for


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serious violations of the law. In July 2016, after Mr. Rodriguez filed this lawsuit,

GIS conducted a “reinvestigation” of Mr. Rodriguez’s May 2016 report. GIS

determined that the criminal charges and convictions listed in the May 2016 report

were incorrect. By letter dated July 19, 2016, GIS notified Mr. Rodriguez that the

information reported in May 2016 concerning his criminal record “required an

update.” The “updated” report that GIS sent to Mr. Rodriguez with the July 2016

letter still attributed criminal charges and convictions to Mr. Rodriguez. Based on

this evidence, a reasonable trier of fact could conclude that GIS acted recklessly and

disregarded FCRA’s mandate that a reporting agency must “follow reasonable

procedures to assure maximum possible accuracy of the information concerning the

individual about whom the report relates.” 15 U.S.C. § 1681e(b).

      In addition, in late 2014 and early 2015, the Consumer Financial Protection

Bureau investigated GIS’s procedures for criminal record reporting. (Doc. 47-5, p.

19, tpp. 101–02; Doc. 47-9, pp. 36–59). At the conclusion of its investigation, the

CFPB issued a consent order. The order states that GIS’s procedures “resulted in

the reporting of mismatched criminal record information about consumers.” (Doc.

47-9, p. 40). Under the October 2015 consent order, GIS had to develop procedures

“to assure maximum possible accuracy for information reported” and use software

“to compare and reconcile discrepancies in criminal records in all reports generated

. . .” (Doc. 47-9, pp. 46–48, 59).


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      GIS’s use of only two identifiers in May of 2016, and GIS’s failure to explore

the facial discrepancies in the May 2016 report regarding Mr. Rodriguez seem to

violate the terms of the consent order. Those violations, if proven, may demonstrate

that GIS acted with reckless disregard for its duties under the FCRA. Safeco, 551

U.S. at 57.

      Based on the foregoing, GIS is not entitled to summary judgment as to Mr.

Rodriguez’s willful violation claim under section 1681k.

IV.   CONCLUSION

      For the reasons stated, the Court denies GIS’s motion for summary judgment

(Doc. 52). Mr. Rodriguez’s motion for an extension of time to disclose a rebuttal

expert (Doc. 32) is moot. GIS’s motion to strike Mr. Rodriguez’s expert report (Doc.

38) and Mr. Rodriguez’s motion to strike GIS’s expert report (Doc. 46) are moot.

The Court asks the Clerk to please TERM Docs. 32, 38, 46, and 52.

      DONE and ORDERED this February 19, 2019.


                                    _________________________________
                                    MADELINE HUGHES HAIKALA
                                    UNITED STATES DISTRICT JUDGE




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